   Case: 1:10-cv-06162 Document #: 396 Filed: 11/19/13 Page 1 of 1 PageID #:4710




                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            NORTHERN DISTRICT OF ILLINOIS

Brian Friedopfer, et al,                     )
                                             )
                      Plaintiffs,            )
                                             )
              v.                             )   No. 10 C 6162
                                             )
Kenneth A. Dachman, et al,                   )   Judge Rebecca R. Pallmeyer
                                             )
                                             )
                      Defendants.            )

                                          ORDER

       The court approves the Receiver's proposed amendments to distribution schedules.

                                          ENTER:



Dated: November 19, 2013            _________________________________________
                                          REBECCA R. PALLMEYER
                                          United States District Judge
